 Case No. 1:17-cr-00334-CMA   Document 27 filed 03/02/18 USDC Colorado pg 1
                                      of 4
Appellate Case: 18-1057 Document: 01019952946 Date Filed: 03/02/2018 Page: 1
                                                                          FILED
                                                              United States Court of Appeals
                       UNITED STATES COURT OF APPEALS                 Tenth Circuit

                               FOR THE TENTH CIRCUIT                             March 2, 2018
                           _________________________________
                                                                             Elisabeth A. Shumaker
                                                                                 Clerk of Court
  UNITED STATES OF AMERICA,

        Plaintiff - Appellee,

  v.                                                           No. 18-1057
                                                    (D.C. No. 1:17-CR-00334-CMA-1)
  MARCO CASTRO-CRUZ, a/k/a Juan                                 (D. Colo.)
  Ramirez-Perez, a/k/a Guero,

        Defendant - Appellant.

  –––––––––––––––––––––––––––––––––––

  UNITED STATES OF AMERICA,

        Plaintiff - Appellee,

  v.
                                                               No. 18-1058
  MARCO CASTRO-CRUZ, a/k/aJuan                      (D.C. No. 1:14-CR-00144-CMA-4)
  Ramirez-Perez, a/k/a Manuel Castro Cruz,                      (D. Colo.)
  a/k/a Rogelio Martinez Escalante, a/k/a
  Guero,

        Defendant - Appellant.
                        _________________________________

                                        ORDER
                           _________________________________

  Before TYMKOVICH, Chief Circuit Judge.
                   _________________________________

        In these two appeals, Defendant Marco Castro-Cruz appeals the judgments entered

  in two separate district court cases. He was represented by court-appointed attorney

  Boston Henry Stanton, Jr. in both matters. Mr. Stanton has filed motions in both appeals
 Case No. 1:17-cr-00334-CMA       Document 27 filed 03/02/18 USDC Colorado pg 2
                                           of 4
Appellate Case: 18-1057      Document: 01019952946 Date Filed: 03/02/2018 Page: 2



  seeking leave to withdraw as counsel of record for Mr. Castro-Cruz, and requesting the

  appointment of substitute appellate counsel. The district court has made the requisite

  finding of eligibility for the appointment of substitute counsel.

           Upon consideration, the motions are granted. Mr. Stanton is appointed pursuant to

  the Criminal Justice Act, 18 U.S.C. § 3006A, effective nunc pro tunc to the date the

  notices of appeal were filed in these matters, but that appointment ends with the entry of

  this order. He shall have no continuing obligations in these appeals, but remains

  responsible for ensuring that arrangements have been made through the district court’s

  eVoucher system for payment of the transcripts he ordered on February 28, 2018 in both

  appeals.

           Attorney Rick Bailey is now appointed to represent Mr. Castro-Cruz in both

  appeals pursuant to 18 U.S.C. § 3006A. Mr. Bailey’s contact information is as follows:

                                         Rick E. Bailey
                               Conlee, Schmidt & Emerson, LLP
                                  200 W. Douglas, Ste. 300
                                    Wichita, Kansas 67202
                                    (phone) 316-264-3300
                                      (fax) 316-264-3423
                                        rbailey@fcse.net

  Within 10 days from the date of this order, Mr. Bailey shall file an appearance with the

  clerk.

           Designations of record and transcript order forms have already been filed in both

  district court cases. Mr. Bailey is responsible for confirming with Mr. Stanton that

  adequate payment arrangements have been made through the district court’s eVoucher

  system for the transcripts already ordered. In addition, if warranted, Mr. Bailey shall file

                                                2
 Case No. 1:17-cr-00334-CMA       Document 27 filed 03/02/18 USDC Colorado pg 3
                                           of 4
Appellate Case: 18-1057      Document: 01019952946 Date Filed: 03/02/2018 Page: 3



  a supplemental designation of record or a supplemental transcript order form within 20

  days from the date of this order.

         Moreover, these appeals are now consolidated for all procedural purposes,

  including briefing, preparation of the record, submission to the court, and oral argument

  if scheduled. Accordingly, once the requested transcripts have been prepared, the clerk of

  the district court shall transmit a single consolidated record on appeal for both appeals

  containing all of the items designated and all of the transcripts ordered in both cases. The

  clerk shall wait at least 20 days from the date of this order before transmitting the

  consolidated record on appeal. Going forward, all pleadings filed in these consolidated

  cases must include both case numbers in the consolidated caption and must be filed in

  both appeals.

         Finally, interpreting services appear necessary to an adequate defense and

  therefore prior approval is granted at this time for counsel to incur up to $800 of

  interpreting services. If additional interpreting services are needed counsel should seek

  prior approval by sealed, ex parte motion. In order to conserve charges related to travel

  and facility waiting time, counsel is encouraged to conduct client interviews by

  conference call with the interpreter and client on the call. Interpreting time should be

  documented in the expenses section of counsel’s CJA 20 voucher. A copy of the

  interpreter’s itemized invoice should also be included.

         All of the pleadings filed to date are available on the CM docket and PACER. Mr.




                                                3
 Case No. 1:17-cr-00334-CMA      Document 27 filed 03/02/18 USDC Colorado pg 4
                                          of 4
Appellate Case: 18-1057     Document: 01019952946 Date Filed: 03/02/2018 Page: 4



  Stanton is directed to forward any additional materials in his possession pertinent to these

  appeals to Mr. Bailey.


                                                Entered for the Court
                                                ELISABETH A. SHUMAKER, Clerk




                                                by: Jane K. Castro
                                                    Counsel to the Clerk




                                               4
